                           Case 2:22-mj-00495-PLD Document 1-1 Filed 03/24/22 Page 1 of 5
                                                                                     ✔ Original
                                                                                     u                         u Duplicate Original
AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                           Western District
                                                          __________        of Pennsylvania
                                                                      District of __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 22-495
           ONE (1) SILVER IPHONE SE WITH IMEI                               )
                     353792083688825;                                       )
                                                                            )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                        Western   District of          Pennsylvania
(identify the person or describe the property to be searched and give its location):
  See attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See attachment B.




          YOU ARE COMMANDED to execute this warrant on or before            April 8, 2022        (not to exceed 14 days)
      ✔ in the daytime 6:00 a.m. to 10:00 p.m.
      u                                  u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                      Duty Magistrate Judge                  .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


Date and time issued:          03/25/2022 8:45 am
                                                                                                          Judge’s signature

City and state:             Pittsburgh, Pennsylvania                                           Honorable Patricia L. Dodge
                                                                                                        Printed name and title
                           Case 2:22-mj-00495-PLD Document 1-1 Filed 03/24/22 Page 2 of 5
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                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 22-495
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                      ATTACHMENT A

                                      Items to Be Searched

       One (1) Silver iPhone with IMEI 352019078245440; one (1) Silver iPhone SE with IMEI

353792083688825; one (1) Blue Verizon Kyocera flip phone; and two (2) Black Verizon Samsung

SM-B311V cellular telephones. These phones were lawfully obtained by law enforcement during

the execution of a search warrant in Penn Hills, PA on December 7, 2018. The devices are currently

in the custody of the FBI Pittsburgh Field Office, 3311 E. Carson Street, Pittsburgh, PA 15203.




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                                          ATTACHMENT B

                                           Items to Be Seized

          All records, fruits, and evidence described in Attachment A that relate to violations of Title

21, United States Code, Sections 841(a)(1) and 846, including those items described in Section I

below.

                                              SECTION I

          1.      Records relating to the distribution of controlled substances, travel for the purpose

of acquiring and/or distributing controlled substances, and to monetary transactions involving the

proceeds from the sale of controlled substances;

          2.      Names, addresses, telephone numbers, and other contact or identification data

relating to the distribution of controlled substances and the criminal use of communication

facilities;

          3.      Records indicating travel in interstate and foreign commerce, such as maps, GPS

coordinates, navigation coordinates, travel itineraries, plane tickets, boarding passes, motel and

hotel receipts, passports and visas, credit card receipts, and telephone bills and related

communications;

          4.      Records which provide evidence of control or ownership of the communication

device;

          5.      Records related to acquiring and distributing illegal drugs and proceeds, including

incoming and outgoing call and text message logs, contact lists, photo and video galleries, sent

and received text messages, online searches and sites viewed via the internet, online or electronic

communications sent and received (including email, chat, and instant messages), sent and received

audio files, navigation, mapping, and GPS files, telephone settings (including contact lists), and


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related identifying information such as telephone identification numbers, call forwarding

information, messages drafted but not sent, and voice messages;

       6.      Any documentation, operating logs and reference manuals regarding the operation

of the storage devices;

       7.      Any applications, utility programs, compilers, interpreters, and other software used

to facilitate direct or indirect communication with the storage devices or data to be searched;

       8.      Any physical keys, encryption devices, dongles and similar physical items that are

necessary to gain access to the storage devices or data;

       9.      Any passwords, password files, test keys, encryption codes or other information

necessary to access the storage devices or data.

       The examination of electronic information may require authorities to employ techniques,

including but not limited to, computer-assisted scans of the entire medium, which might expose

many parts of the CASH, JR devices to human inspection in order to determine whether it is

evidence described in the warrant.




                                                   10
